            Case 1:18-vv-00791-UNJ Document 66 Filed 11/29/21 Page 1 of 7




    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                        Filed: November 12, 2021

*************************
ANDREW TRUJILLO,                           *       No. 18-791V
                                           *
                      Petitioner,          *       Special Master Sanders
v.                                         *
                                           *       Stipulation for Award; Tetanus-
SECRETARY OF HEALTH                        *       Diphtheria-Acellular Pertussis
AND HUMAN SERVICES,                        *       (“Tdap”) Vaccine; Chronic Inflammatory
                                           *       Demyelinating Polyneuropathy (“CIDP”)
                      Respondent.          *
*************************
Bridget McCullough, Muller Brazil, LLP, Dresher, PA, for Petitioner.
Colleen Hartley, United States Department of Justice, Washington, DC, for Respondent.

                                               DECISION 1

        On June 5, 2018, Andrew Trujillo (“Petitioner”) filed a petition for compensation pursuant
to the National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-10 to -34 (2012); Pet.
at 1, ECF No. 1. Petitioner alleged that the tetanus-diphtheria-acellular pertussis (“Tdap”) vaccine
he received on July 25, 2015, caused him to suffer from chronic inflammatory demyelinating
polyneuropathy (“CIDP”). Id. Petitioner further alleged that he experienced the residual effects of
his injury for more than six months. Stip. at 1, ECF No. 61.

        On November 9, 2021, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation to Petitioner. Id. at 2. Respondent “denies that the
vaccine caused [P]etitioner’s alleged CIDP, or any other injury[.]” Id. Respondent further “denies
that his current condition is a sequelae of a vaccine-related injury.” Id. Nevertheless, the parties
agree to the joint stipulation, attached hereto as Appendix A. Id. I find the stipulation reasonable
and adopt it as the decision of the Court in awarding damages, on the terms set forth therein.

          The parties stipulate that Petitioner shall receive the following compensation:


1
 This Decision shall be posted on the website of the United States Court of Federal Claims, in accordance
with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2012)). This means the Decision will be available to anyone with access to
the Internet. As provided by Vaccine Rule 18(b), each party has 14 days within which to request redaction
“of any information furnished by that party: (1) that is a trade secret or commercial or financial in substance
and is privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which
would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
    National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
          Case 1:18-vv-00791-UNJ Document 66 Filed 11/29/21 Page 2 of 7




                A lump sum of $60,000.00 in the form of a check payable to [P]etitioner.
                This amount represents compensation for all damages that would be
                available under 42 U.S.C. § 300aa-15(a)[.]

Id.

       I approve the requested amount for Petitioner’s compensation. Accordingly, an award
should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation. 3


        IT IS SO ORDERED.

                                                          s/Herbrina D. Sanders
                                                          Herbrina D. Sanders
                                                          Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
Case 1:18-vv-00791-UNJ Document 66 Filed 11/29/21 Page 3 of 7
Case 1:18-vv-00791-UNJ Document 66 Filed 11/29/21 Page 4 of 7
Case 1:18-vv-00791-UNJ Document 66 Filed 11/29/21 Page 5 of 7
Case 1:18-vv-00791-UNJ Document 66 Filed 11/29/21 Page 6 of 7
Case 1:18-vv-00791-UNJ Document 66 Filed 11/29/21 Page 7 of 7
